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Sylvia Garza-Perez

201 occ L-001 92 Cameron County Clerk

 

CAUSE NO.

JOSE DE LA FUENTE §  INCOUNTY COURT AT LAW

§

§
VS. § NO.

Gameron County - County Court at Law |

§

WAL-MART STORES TEXAS LLC § CAMERON COUNTY, TEXAS

PLAINTIFF'S ORIGINAL PETITION

NOW COMES JOSE DE LA FUENTE, hereinafter referred to as Plaintiff, and files
this, his Original Petition against WAL-MART STORES TEXAS LLC, hereinafter referred to
as Defendant, and for cause of action will show the Court the following:

DISCOVERY CONTROL PLAN - BY RULE (LEVEL 3).

1. Plaintiff intends to conduct discovery under Level 3 as provided by Rule 190 of
the Texas Rules of Civil Procedure.

CLAIM FOR RELIEF

2, Plaintiff is seeking monetary relief from Defendant in the maximum amount of
$75,000.00.

PARTIES

3. Plaintiff is an individual who resides in Brownsville, Cameron County, Texas.

4, Defendant Wal-Mart Stores, Texas LLC. is a limited liability company that
owns and operates the Wal-Mart store located on Boca Chica Boulevard in Brownville,
Cameron County, Texas. Defendant Wal-Mart Stores, Texas LLC. may be served with
process by serving its registered agent, C. T, Corporation System, at 1999 Bryan Street, Suite
900, Dallas, Texas 75201-3136.

VENUE AND JURISDICTION

5. The incident described hereinbelow or events giving rise to Plaintiff's claim

EXHIBIT

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against Defendant occurred in Brownsville, Cameron County, Texas. Venue for this cause
of action therefore lies in Cameron County, Texas.

6. The damages that Plaintiff is seeking from Defendant are within the
jurisdictional limits of the Court. This Court therefore has jurisdiction of this cause of
action,

FACTS

7. On November 22, 2018, Plaintiff was shopping at Defendant's Wal-Mart store

located on Boca Chica Boulevard in Brownsville, Cameron County, Texas. Plaintiff was

pushing a shopping cart in an action alley in the grocery department. There was a very long

. spill of liquid laundry detergent on the floor that caused Plaintiff to slip, fall, and suffer

injuries and damages. The floor that was wet with detergent displayed other customers’
shoe prints, wheel marks from the wheels of other shopping carts, and slip marks from the
shoes of other customers who had slipped on the floor that was wet with detergent. The
detergent had been on the floor for a long period of time before Plaintiff slipped and fell.
Defendant’s employees were in close proximity to the detergent that was on the floor for
this lengthy period of time. Further, the container of liquid laundry detergent that leaked
detergent on the floor was cracked, broken, open, defective, and leaky, Defendant, through
its employees and/or its vendors, caused the cracked and leaky container of detergent to
exist on its store premises, be in the possession of one of its customers, and to leak detergent
on the floor as the customer carried the container in the action alley. In this regard,
Defendant created the dangerous conditions on its store premises that caused Plaintiff to
slip and fall. Knowledge ofthe dangerous conditions is therefore imputed on Defendant

under Texas Premises Liability Law.

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CAUSE OF ACTION BASED ON PREMISES LIABILITY LAW.
' AND PROXIMATE CAUSE

8. At all time that is material to the incident described hereinabove and this case,
Defendant was negligent under premises liability law in that: A, Plaintiff was a
business invitee, B. Defendant owned, possessed, and/or controlled the premises
where the incident described hereinabove occurred, C. A condition on the premises, the
liquid laundry detergent that was on the floor, the wet and slippery flonn and/or the
cracked and leaky container of detergent, as described in the preceding paragraph, posed
an unreasonable risk of harm, D. Defendant knew or reasonably should have known of the
danger posed by the condition, and E, Defendant breached its duty of ordinary care by
failing to adequately warn Plaintiff of the condition and failing to make the condition
reasonably safe. This negligence by Defendant was the sole proximate cause or a proximate
cause of the incident described hereinabove and of the injuries and damages suffered by
Plaintiff, as set out hereinbelow.

DAMAGES

9, As a proximate cause of the negligence of Defendant in causing the incident
described hereinabove.. Plaintiff suffered injuries, suffered physical pain and mental
anguish in the past, will suffer physical pain and mental anguish in the future, suffered
physical impairment in the past, will suffer physical impairment in the future, suffered
physical disfigurement in the past, will suffer physical disfigurement in the future,
lost wages in the past, will suffer a loss of earning capacity in the future, incurred medical
expenses in the past, and will incur medical expenses in the future,
Plaintiff is seeking monetary relief from Defendant in the maximum amount of $75,000.00.
VICARIOUS LIABILI ry |

10, At all time that is material to the incident described hereinabove and this case.

 
 

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Defendant's employees, contractors, vendors, and/or agents acted within the course, scope,
and authority of their employment, contractual, and/or agency. relationship with
Defendant.. Defendant should therefore be held vicariously liable to Plaintiff for all of
Plaintiff's damages alleged herein. |

PREJUDG T AND POSTTUDGMENT INTEREST

11. Plaintiff further sues Defendant herein for prejudgment interest at the
maximum rate allowed by law on those damages where such interest may be assessed
and for postjudgment interest at the maximum rate allowed by law on all of Plaintiff's
damages from the date of judgment until the judgment is paid in full.

REQUEST FOR JURY AND JURY FEE

12, Plaintiff requests that the above-styled and numbered cause be tried to a jury
and represents to the Court that the proper jury fee has been paid to the Clerk of this
Court with the filing of Plaintiff's Original Petition.

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon final
hearing, he have judgment against Defendant for all of his damages hereinabove
alleged, for prejudgment and postjudgment interest, and for any and all other relief,
both general and special, in law and in equity, and for all costs of Court in his behalf

expended.

 
 

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Respectfully Submitted,

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